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11 Attorneys for Plaintiff,
   Yaritza Rodriguez
12
13
                            UNITED STATES DISTRICT COURT
14                         CENTRAL DISTRICT OF CALIFORNIA
15                                EASTERN DIVISION
16
17 Yaritza Rodriguez,                        Case No.:
18
                        Plaintiff,           COMPLAINT FOR DAMAGES
19
20          vs.                              FOR VIOLATIONS OF:
                                              1. THE TELEPHONE CONSUMER
21
   Charter Communication dba Spectrum         PROTECTION ACT;
22 Cable,                                     2. THE ROSENTHAL FAIR DEBT
                                              COLLECTION PRACTICES ACT
23
                        Defendant.
24                                           JURY TRIAL DEMANDED
25
26
27
28
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 1          Plaintiff, Yaritza Rodriguez (hereafter “Plaintiff”), by undersigned counsel,
 2
      brings the following complaint against Charter Communication dba Spectrum Cable
 3
 4 (hereafter “Defendant”) and alleges as follows:
 5                                       JURISDICTION
 6
            1.     This action arises out of Defendant’s repeated violations of the
 7
 8 Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”), and repeated
 9 violations of the Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code § 1788,
10
   et seq. (“Rosenthal Act”).
11
12          2.     Jurisdiction of this Court arises under 47 U.S.C. § 227(b)(3), Cal. Civ.
13
      Code 1788.30(f), 28 U.S.C. § 1331 and 28 U.S.C. § 1367.
14
            3.     Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), where
15
16 the acts and transactions giving rise to Plaintiff’s action occurred in this district and/or
17
      where Defendant transacts business in this district.
18
19                                           PARTIES

20          4.     Plaintiff is an adult individual residing in San Bernardino, California, and
21
      is a “person” as defined by 47 U.S.C. § 153(39) and Cal Civ. Code § 1788.2(g).
22
23          5.     Plaintiff is a “debtor” as defined by Cal. Civ. Code § 1788.2(h).

24          6.     Defendant is a business entity located in Saint Louis, Missouri, and is a
25
      “person” as the term is defined by 47 U.S.C. § 153(39) and Cal Civ. Code §
26
27 1788.2(g).
28


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                                                              COMPLAINT FOR DAMAGES
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 1          7.     Defendant, in the ordinary course of business, regularly, on behalf of
 2
      itself or others, engages in the collection of consumer debts, and is a “debt collector”
 3
 4 as defined by Cal. Civ. Code § 1788.2(c).
 5
 6                   ALLEGATIONS APPLICABLE TO ALL COUNTS

 7          8.     Plaintiff is a natural person allegedly obligated to pay a debt asserted to
 8
      be owed to Defendant.
 9
10          9.     Plaintiff’s alleged obligation arises from a transaction in which property,
11 services or money was acquired on credit primarily for personal, family or household
12
   purposes and is a “consumer debt” as defined by Cal. Civ. Code § 1788.2(f).
13
14          10.    At all times mentioned herein where Defendant communicated with any
15
      person via telephone, such communication was done via Defendant’s agent,
16
17 representative or employee.
18          11.    At all times mentioned herein, Plaintiff utilized a cellular telephone
19
      service and was assigned the following telephone number: 909-xxx-7096 (hereafter
20
21 “Number”).
22          12.    Within the last year, Defendant placed calls and sent text messages to
23
      Plaintiff’s Number in an attempt to collect a debt from a person unknown to Plaintiff.
24
25          13.    Plaintiff does not currently do business with Defendant, and Plaintiff has
26
      never done business with Defendant.
27
28


                                                  3
                                                               COMPLAINT FOR DAMAGES
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 1             14.   The aforementioned calls were placed using an artificial or prerecorded
 2
      voice.
 3
 4             15.   In or around January of 2022, Plaintiff spoke with a live representative
 5 and requested that Defendant cease placing calls to her Number.
 6
         16. Defendant instructed Plaintiff to go to its website and submit an online
 7
 8 request in order for Defendant to cease placing calls to her Number.
 9
               17.   Plaintiff complied with Defendant’s instructions and submitted the online
10
11 request through Defendant’s website, requesting that Defendant cease placing all calls
12 to her.
13
               18.   Despite Plaintiff’s written and verbal requests, Defendant continued
14
15 placing automated calls and sending text messages to Plaintiff in an attempt to collect
16 the alleged debt.
17
          19. Plaintiff also responded “Stop” to Defendant’s text messages, but the
18
19 calls continued.
20
               20.   On or about March 25, 2022, Plaintiff called Defendant.
21
               21.   Defendant informed Plaintiff that her number was associated with
22
23 another consumer’s account but confirmed that it did not have any other information
24
      that matched Plaintiff other than her Number.
25
26             22.   Defendant’s actions caused Plaintiff a great deal of confusion, frustration,
27 and distress.
28


                                                   4
                                                                COMPLAINT FOR DAMAGES
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 1                                           COUNT I
 2
       VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT, 47
 3                          U.S.C. § 227, et seq.
 4
            23.    Plaintiff incorporates by reference all of the above paragraphs of this
 5
 6 complaint as though fully stated herein.
 7          24.    The TCPA prohibits Defendant from using, other than for emergency
 8
      purposes, automated or prerecorded messages when calling Plaintiff’s Number absent
 9
10 Plaintiff’s prior express consent to do so. See 47 U.S.C. § 227(b)(1).
11          25.    Defendant called Plaintiff’s Number using an artificial or prerecorded
12
      voice without Plaintiff’s consent in that Defendant either never had Plaintiff’s prior
13
14 express consent to do so or such consent was effectively revoked when Plaintiff
15
      requested that Defendant cease all further calls.
16
17          26.    Defendant continued to willfully call Plaintiff’s Number using an

18 artificial or prerecorded voice knowing that it lacked the requisite consent to do so in
19
      violation of the TCPA.
20
21          27.    Plaintiff was harmed and suffered damages as a result of Defendant’s
22 actions.
23
         28.       The TCPA creates a private right of action against persons who violate
24
25 the Act. See 47 U.S.C. § 227(b)(3).
26
            29.    As a result of each call made in violation of the TCPA, Plaintiff is
27
      entitled to an award of $500.00 in statutory damages.
28


                                                  5
                                                               COMPLAINT FOR DAMAGES
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 1          30.    As a result of each call made knowingly and/or willingly in violation of
 2
      the TCPA, Plaintiff may be entitled to an award of treble damages.
 3
 4
                                            COUNT II
 5
 6          VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION
                   PRACTICES ACT, Cal. Civ. Code § 1788, et seq.
 7
 8          31.    Plaintiff incorporates by reference all of the above paragraphs of this

 9 complaint as though fully stated herein.
10
            32.    The Rosenthal Act was passed to prohibit debt collectors from engaging
11
12 in unfair and deceptive acts and practices in the collection of consumer debts.
13          33.    Defendant caused Plaintiff’s telephone to ring repeatedly or continuously
14
      to annoy Plaintiff, in violation of Cal. Civ. Code § 1788.11(d).
15
16          34.    Defendant communicated with Plaintiff with such frequency as to be
17
      unreasonable, constituting harassment, in violation of Cal. Civ. Code § 1788.11(e).
18
            35.    Defendant did not comply with the provisions of 15 U.S.C. § 1692, et
19
20 seq., in violation of Cal. Civ. Code § 1788.17.
21
            36.    Plaintiff was harmed and is entitled to damages as a result of Defendant’s
22
23 violations.
24
                                    PRAYER FOR RELIEF
25
26          WHEREFORE, Plaintiff prays for judgment against Defendant for:
27                 A. Statutory damages of $500.00 for each call determined to be in violation
28
                      of the TCPA pursuant to 47 U.S.C.§ 227(b)(3);

                                                 6
                                                              COMPLAINT FOR DAMAGES
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 1                B. Treble damages for each violation determined to be willful and/or
 2
                     knowing under the TCPA pursuant to 47 U.S.C.§ 227(b)(3);
 3
 4                C. Actual damages pursuant to Cal. Civ. Code § 1788.30(a);
 5                D. Statutory damages of $1,000.00 for knowingly and willfully committing
 6
                     violations pursuant to Cal. Civ. Code § 1788.30(b);
 7
 8                E. Costs of litigation and reasonable attorneys’ fees pursuant to Cal. Civ.
 9
                     Code § 1788.30(c); and
10
11                F. Such other and further relief as may be just and proper.

12
                     TRIAL BY JURY DEMANDED ON ALL COUNTS
13
14
15
      DATED: October 3, 2022                     TRINETTE G. KENT
16
17                                               By: /s/ Trinette G. Kent
                                                 Trinette G. Kent, Esq.
18                                               Lemberg Law, LLC
19                                               Attorney for Plaintiff, Yaritza Rodriguez
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                                                              COMPLAINT FOR DAMAGES
